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  12   Trivalley Trading & Contracting, WLL
  13                           UNITED STATES BANKRUPTCY COURT
  14                            CENTRAL DISTRICT OF CALIFORNIA
  15                                     SANTA ANA DIVISION
  16   In re:
                                                             Case No. 8:21-bk-10619-MW
  17   GLOBAL DISCOVERY BIOSCIENCES
       CORPORATION, a Delaware corporation,                  Bankruptcy filed March 11, 2021
  18                                                         Chapter 11
  19
                     Debtor.                                 REPLY IN SUPPORT OF MOTION
  20                                                         FOR APPROVAL OF STIPULATION
                                                             BETWEEN KHALID BIN JABOR AL
                                                             THANI AND TRIVALLEY TRADING &
  21                                                         CONTRACTING, WLL, ON THE ONE
                                                             HAND, AND DEBTOR, ON THE
  22                                                         OTHER HAND, FOR RELIEF FROM
                                                             STAY PURUANT TO 11 U.S.C. §362
  23                                                         (NONBANKRUPTCY ACTION)
  24
  25                                                         Hearing Date: July 12, 2021
                                                             Time:         2:00 p.m.
  26                                                         Courtroom: 6C
                                                                           411 West Fourth Street
  27
                                                                           Santa Ana, CA 92701
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   1         Dr. Khalid Bin Jabor Al Thani (“Dr. Khalid”) and Trivalley Doha Qatar aka Trivalley
   2   Trading & Contracting, W.L.L., a Qatar limited liability company (“Trivalley,” and together
   3   with Dr. Khalid, the “Khalid Parties”) file this reply in support of the Motion to Approve
   4   Stipulation Between Khalid Bin Jabor Al Thani And Trivalley Trading & Contracting, Wll, On
   5   The One Hand, And Debtor, On The Other Hand, For Relief From Stay Pursuant To 11 U.S.C.
   6   §362 (Nonbankruptcy Action) [Docket No. 88] (“Motion”). The Motion seeks entry of an order
   7   approving the Stipulation Between Khalid Bin Jabor Al Thani And Trivalley Trading &
   8   Contracting, WLL, On The One Hand, And Debtor, On The Other Hand, For Relief From Stay
   9   Pursuant To 11 U.S.C. §362 (Nonbankruptcy Action) (“Stipulation”) This Reply responds to the
  10   Objection To Motion For Entry Of Order Approving Stipulation For Relief From Stay Pursuant
  11   To 11 USC §362 And Request For Hearing Thereon (“Objection”) [Docket No. 103] filed by
  12   Mark Sharf, the subchapter V trustee (“Trustee”) of the bankruptcy estate of Global Discovery
  13   Biosciences Corporation, a Delaware corporation, the debtor and debtor in possession in the
  14   instant bankruptcy case, (“Debtor”). The Motion seeks entry of an order approving the
  15   Stipulation that was entered into in light of the Court’s Order Granting In Part And Denying In
  16   Part Motion For Order: (1) Dismissing Debtor’s Bankruptcy Case For Lack Of Jurisdiction; (2)
  17   Dismissing Debtor’s Bankruptcy Case For Cause Pursuant To Bankruptcy Code § 1112(B); (3)
  18   Abstaining From Debtor’s Bankruptcy Case Pursuant To Bankruptcy Code § 305; Or
  19   Alternatively, (4) Exercising Mandatory Or Permissive Abstention Under 28 U.S.C. § 1334(C)
  20   Over The Question Of Whether Debtor’s Case Was Properly Authorized To Be Filed Under The
  21   Applicable Corporate Law; And (5) Awarding Sanctions For Violation Of Bankruptcy Rule 9011
  22   [Docket No. 72] (the “Dismissal Order”).
  23   I.     INTRODUCTION
  24          The Trustee’s Objection to the Motion should be overruled. The Trustee complains that
  25   the Stipulation should not be approved as proposed because:
  26           (1) The issues in the litigation pending in the State Court Matters, as defined in the
  27               Stipulation, are not or may not entirely be limited to issues of ownership of and
  28               control over the Debtor;



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   1           (2) The Trustee will be “forced” to take a role in the State Court Matters, costing the
   2               estate money; and
   3           (3) The Khalid Parties seek the production of records (pertaining to the ownership and
   4               control dispute) in the course of a proceeding in the Delaware Chancery Court and
   5               the Trustee is concerned the burden of production will fall on him.
   6           Based on these contentions, the Trustee proposes that the Court limit the order requested
   7   by stipulation lifting the automatic stay by altering or limiting the effect of the collateral estoppel
   8   effect of the judgments to be entered, a matter of state law that is governed by 28 U.S.C. Section
   9   1738. Rather than altering established state law governing the preclusive effect of judgments,
  10   the easier solution is for the Trustee to abandon the estate’s interest in any burdensome aspects
  11   of the litigation, such as the ownership and control dispute and/or to enable the real parties in
  12   interest, which will allow Dr. Harrington and his share holding company Ark Partners, to
  13   substitute into the litigation as the real parties in interest as to those claims.
  14           Further, the Trustee’s request to essentially enjoin any request for documents being
  15   directed to him will unnecessarily handicap and likely undermine the ability of the Khalid
  16   Parties to reach a resolution of the ownership and control dispute since the Trustee will be and
  17   likely already is in control of the Debtor’s records. Moreover, the Khalid Parties have agreed
  18   previously to incur the cost of a third-party document handling company to perform the
  19   electronic search for corporate records, which will avoid curtailment of the Khalid Parties legally
  20   robust inspection rights, notwithstanding removal of the Debtor from possession.
  21           For these and the following reasons, the Court should approve the Stipulation which
  22   follows the law of the case and the Court’s prior ruling in the Dismissal Order (i.e., that the State
  23   Court Matters will proceed to final disposition in the state courts).
  24   II.     RELEVANT FACTUAL HISTORY
  25           By this point, the Court is well acquainted with the history of this case and the central
  26   dispute in it, which concerns whether the Debtor’s bankruptcy case was validly filed based on
  27   the pre-petition finding in binding arbitration that the Khalid Parties own a controlling interest in
  28   the Debtor, among other things, and the pending motions and trials. Debtor filed this case as a



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   1   blatant effort to escape the three impending trials in the Delaware Chancery Court and the
   2   Orange County Superior Court (the “State Court Matters”).1 As a brief recap of the history and
   3   facts presented to this Court, the Khalid Parties own 55% of the outstanding stock of Debtor, a
   4   controlling interest recognized by a binding judicial reference authorized by the Orange County
   5   Superior Court two years ago. Dr. Khalid submitted shareholder consents in January of this year
   6   to replace the board of directors (i.e., the Old Board) with a new slate (the “New Board”). Dr.
   7   Harrington, who is in control of the Debtor and has been using the Debtor’s coffers to defend his
   8   and his entity Ark Partner’s purported interest in the Debtor, refuses to recognize Dr. Khalid’s
   9   status as a shareholder, much less a controlling shareholder, despite the express findings of the
  10   Honorable Judith M. Ryan (Ret.), who presided over the ten (10) day trial conducted pursuant to
  11   judicial reference; refuses to provide Dr. Khalid with access to the company’s books and
  12   records, contrary to Delaware law; refuses to acknowledge the New Board, contrary to Delaware
  13   law; has taken over the Debtor’s office and laboratory space, and now uses the pirated
  14   intellectual property for his own personal gain.
  15           Debtor filed its unauthorized petition commencing this case on March 11, 2021 (the
  16   “Petition Date”) in the middle of a dispositive motion hearing before the Orange County
  17   Superior Court (“OC Litigation”). The Khalid Parties filed a motion to dismiss this invalidly
  18   filed bankruptcy case soon thereafter, arguing the Court lacks subject matter jurisdiction over
  19   this case based on binding Supreme Court precedent, that the Debtor’s filing was independently
  20   subject to dismissal under Section 1112(b) of the Bankruptcy Code based on bad faith for,
  21   among other things, being an obvious blatant litigation tactic, and that the Court should abstain
  22   from adjudicating any of the state law disputes that Debtor sought to litigate anew before this
  23   Court after nearly five years of the OC Litigation, and just weeks before trial in all three pending
  24   State Court Matters.
  25           Significantly, the Debtor argued in its opposition to the Motion to Dismiss, that there is a
  26   “one final judgment rule” that must be abided in California and that any judgment in the OC
  27
       1
         Rather than file a voluminous Request for Judicial Notice in relation to the Motion to Dismiss and the pending
  28   Motion for Reconsideration, the Khalid Parties reference Docket No.’s 24, 25, 37-43, 45-46, 53-57, 66, 69, 71-74, 78-
       83, 89-91, and 97-98.


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   1   Litigation is not final until exhaustion of appeals. See Debtor’s opposition to the Motion to
   2   Dismiss, Docket No. 37 at pages 5, line 7-12.
   3          The Court declined to dismiss Debtor’s case, instead finding in its tentative ruling that
   4   Debtor’s filing was the likely result of forum shopping, that abstention was appropriate as to
   5   entirety of the State Court Matters, and that the Delaware Chancery Court and Orange County
   6   Superior Court are the appropriate courts to finally determine the pending disputes between
   7   Debtor and the Khalid Parties. Paragraph 2 of the Dismissal Order specifically provides
   8   (emphasis added),
   9          The Court will abstain under Section 1334, Title 28, of the United States Code from
              adjudicating the disputes among the shareholders or purported shareholders of the Debtor
  10          regarding the ownership and control of the Debtor and will allow such disputes to be
              resolved in connection with the proceedings already pending before the Delaware
  11          Chancery Court and Orange County Superior Court, which proceedings are styled as
              (a) Global Discovery Biosciences Corporation v. Khalid Bin Jabor Al Thani et. al., Case
  12          No. 30-2016-00878822-CU-BC-CJC, pending in the Orange County Superior Court, (b)
              Trivalley Trading & Contracting, WLL v. Global Discovery Biosciences Corporation, C.A.
  13          No. 2020-1015-JRS, pending in the Delaware Chancery Court, and (c) In Re Global
              Discovery Biosciences Corporation, a Delaware corporation, C.A. 2021-0196, also
  14          pending in the Delaware Chancery Court.
  15          The Trustee was present at the hearing on the Motion to Dismiss, and was heard on that
  16   Motion, though he did not file any papers in opposition, requesting limited abstention, for
  17   example. After the Khalid Parties lodged their proposed order on the Motion to Dismiss with
  18   the Court, the Debtor objected (“Overruled Objection”) to the proposed order, arguing the Court
  19   should not abstain from the action in the Delaware Chancery Court to inspect Debtor’s books
  20   and records (“Inspection Action”), which the Court overruled pursuant to the lack of any
  21   inclusion of such objection in the Dismissal Order. See Dismissal Order [Docket No. 72] and
  22   Overruled Objection [Docket No. 71]. Despite the Overruled Objection and express finding that
  23   the Court will allow the State Court Matters to proceed forthwith to final judgment as a predicate
  24   to this Court considering a plan, for example, the Trustee now requests the Court limit relief
  25   from the automatic stay in ways that will undercut the final resolution of the State Court Matters
  26   and/or will run afoul of established state law.
  27          \\\
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   1   III.    ARGUMENT
   2           A.     Cause Exists to Grant Relief from the Stay.
   3           As explained recently by the Ninth Circuit Bankruptcy Appellate Panel, “Congress
   4   clearly contemplated that in certain circumstances, other courts would hear and determine
   5   proceedings arising in or related to a bankruptcy case (subject to limits on enforcement), i.e.,
   6   abstention, 28 U.S.C. § 1334(c), and removal and remand, 28 U.S.C. § 1452.” Merriman v.
   7   Fattorini (In re Merriman), 616 B.R. 381, 394 (9th Cir. BAP, 2020) (bolding added). The BAP
   8   further explained,
   9           It has long been acknowledged that the decision to grant relief from stay to permit
  10           litigation to continue in another forum is related to decisions regarding abstention and
               is one best determined via reference to a multi-part test that seeks to balance concerns re
  11           judicial economy, harm to the estate, and prejudice to third parties. See In re Tucson
               Estates, Inc., 912 F.2d at 1167 (reciting factors to be considered in determining whether
  12           permissive abstention is appropriate); In re Curtis, 40 B.R. at 799-800 (reciting factors to
               be considered when determining to grant stay relief to litigate claims in another court).
  13
               These concerns are part of every competent determination to grant or deny relief from
  14           stay to pursue a claim in another forum, whether prospective or retroactive.

  15   Id. at 394.

  16           Even though the Trustee does not argue that cause under 11 U.S.C. Section 362(d)(1)

  17   does not exist to lift the automatic stay to allow the State Court Matters to proceed in the state

  18   courts, it is important to note that cause undoubtedly exists as the Court has already ruled that

  19   abstention is appropriate as to each of the State Court Matters for the purpose of allowing each

  20   of them to proceed to final judgment.

  21           The law of the case doctrine precludes courts from reconsidering a previously decided
               issue. See United States v. Alexander, 106 F.3d 874, 877 (9th Cir. 1997). The doctrine
  22           applies to issues that were “decided explicitly or by necessary implication in the previous
               disposition.” See United States v. Lummi Nation, 763 F.3d 1180, 1187 (9th Cir. 2014).
  23           The law of the case doctrine extends to bankruptcy cases, which comprise the initial
               bankruptcy filing and any adversary proceedings that arise from the filing. See In re
  24           GGW Brands, LLC, No. 2:13-bk-15130-SK, 2013 Bankr. LEXIS 5467, 2013 WL
               6906375, at *16 (Bankr. C.D. Cal. Nov. 15, 2013) (citing In re Pilgrim's Pride Corp.,
  25           442 B.R. 522, 530 (Bankr. N.D. Tex. 2010)). The doctrine also applies between separate
               adversary proceedings in the same bankruptcy case. Id. The Ninth Circuit has identified
  26           certain exceptions to the law of the case doctrine, one of which Otte argues applies here.
               See Thomas v. Bible, 983 F.2d 152, 155 (9th Cir. 1993). Courts may reopen a previously
  27           resolved question if its first decision was clearly erroneous. Id.

  28   Otte v. Naviscent, LLC, 624 B.R. 883, 899 (N.D. Cal. 2021).



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   1          Here, based on the Court’s ruling that it would abstain from adjudicating the issues in the
   2   State Court Matters, it is the law of the case that “cause” exists to grant relief from the stay to
   3   allow each of the State Court Matters to proceed to final judgment. There is no language in the
   4   Dismissal Order that limits what steps can be taken in the State Court Matters to reach a final
   5   judgment (as was argued by the Debtor in the Overruled Objection – Docket No. 71). This is
   6   unchanged by the fact that the Debtor has been removed from possession and the Trustee is now
   7   in control of the Debtor’s estate. Indeed, that result was contemplated by the Court at the time it
   8   ordered abstention when the Court advised all parties attending the Motion to Dismiss that it
   9   would be issuing an order to show cause re why the Debtor should not be removed from
  10   possession, pending resolution of the State Court Matters.
  11          As such, the Court should uphold its prior ruling and lift the stay to enable this case to
  12   progress in the manner in which the Court envisioned without further delay.
  13          B.       The Trustee Should Not Oppose Relief from Stay on the Basis that the
  14                  SASOD May Have Determined That the Dr. Harrington Contributed the
  15                  PULS Test to the Debtor as His “Capital Contribution”.
  16          The Trustee asserts that the litigation pending in the Orange County Superior Court may
  17   result in a determination that Dr. Harrington contributed the PULS test to the Debtor at the time
  18   of his agreement with the Khalid Parties for the formation of/investment in the Debtor. To be
  19   clear, the Trustee references argument made by the Khalid Parties regarding a finding in Judge
  20   Ryan’s Second Amended Statement of Decision (“SASOD”) that has already been issued and,
  21   for the reasons set forth in pleadings in connection with the Motion to Dismiss, already is
  22   binding on the trial court and may only be disturbed by post-trial motion and/or appeal.
  23   Moreover, the finding regarding Dr. Harrington’s contribution of the PULS test technology to
  24   the Debtor was part of Judge Ryan’s findings about what the original ownership agreement was
  25   between the Khalid Parties and Dr. Harrington.
  26          Assuming the Trustee’s (and Khalid Parties’) legal analysis of this issue is true (i.e., that
  27   a judgment on the SASOD will necessarily decide ownership of the PULS test), such a finding
  28   would only inure to the benefit the Debtor. If that issue was not necessarily decided in the



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   1   SASOD, it is clear that the SASOD does not contain any finding adverse to the Debtor on this
   2   issue. As such, there is no reason for the Trustee to oppose relief from stay based on the
   3   possibility that the SASOD will result in an issue preclusive finding in Debtor’s favor on the
   4   ownership of its most valuable asset. Indeed, this will provide immense savings to the estate and
   5   preserve value for the Debtor and its creditors. There are no other examples of why limited
   6   relief from the stay should be ordered even after the Trustee has been provided all of the
   7   pleadings at issue in the State Court Matters (which were filed in connection with the Motion to
   8   Dismiss and setting forth each party’s claims or defenses, of any possible adverse result to the
   9   estate), especially one that is outweighed by the benefits of abstention, respect for comity and
  10   allowing those disputes to swiftly be decided in the appropriate forum.
  11          C.      To the Extent the State Court Matters or Any Part of Them is Burdensome
  12                  for the Estate, the Trustee Should Abandon the Estate’s Interests Therein
  13                  and/or Substitute the Real Parties in Interest Into that Litigation, As
  14                  Appropriate.
  15          The Trustee objects to approval of the Stipulation on the basis that he expects he will be
  16   required to participate in the State Court Matters and that doing so may be costly or burdensome
  17   to Debtor’s estate. Both of the actions pending before the Delaware Chancery Court are
  18   summary proceedings, entirely focused on ownership, control and internal corporate governance
  19   issues. The matters pending in the Delaware Chancery Court are entirely focused on the control
  20   and ownership issues, including the Inspection Action (as defined in the Motion to Dismiss).
  21   The nature of the OC Litigation is also over the ownership of the Debtor, at least to the extent
  22   that action pertains to the Debtor since there are also claims against third parties such as Dr.
  23   Harrington that have been stayed collectively. To the extent any part of the State Court Matters
  24   is burdensome or costly to the estate, the Trustee could and in fact should abandon such claims
  25   or defenses, which likely includes any and all claims pertaining to the ownership and control of
  26   the Debtor. This would effectively limit the scope of the Trustee’s involvement but allow him to
  27   be heard on issues he deems important to the estate. However, this case was filed on March 11,
  28   2021, with all State Court Matters disclosed, and it is now already July 2021and no progress has



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   1   been made toward resolving the central issue in this case. When the stay is lifted, it will take
   2   time for each state court to reschedule trials and hearings that were taken off calendar and the
   3   Trustee will have even more time to consider what role he envisions for himself in those cases.
   4   As an alternative remedy to abandonment, and particularly in reference to the ownership and
   5   control disputes, Trustee may substitute Ark Partners and Munira al Delemi or Debtor’s alleged
   6   current Board of Directors as the real parties as to those claims.
   7          D.      The Court Should Not Limit the Preclusive Effect of any Judgment
   8                  Rendered in the State Court Matters.
   9          In his Objection, the Trustee requests that the Court limit the preclusive effect of any
  10   judgment issued in the State Court Matters so that they will not be binding on the Trustee or
  11   estate. The Trustee offers no legal authority to support the granting of such relief, which in any
  12   event is contrary to law.
  13          A federal court must give a state court judgment the same preclusive effect that it would
  14   receive in that state. Marrese v. American Academy of Orthopaedic Surgeons, 470 U.S. 373,380
  15   (1985). “[W]e have parallel systems of state and federal courts, and the concerns of comity
  16   reflected in § 1738 generally allow States to determine the preclusive scope of their own courts'
  17   judgments.” Id., 385 (citations omitted). And, “…federal courts are not free to give greater
  18   preclusive effect to a state court judgment than would the judgment-rendering State.” Id., at 384,
  19   citing Migra v. Warren City School Dist. Bd. Of Education, 465 U.S. 75, 81. In the absence of
  20   federal law modifying the effect of a state court judgment, the preclusive effect of the state court
  21   judgment is determined by state law. Id.
  22          For this reason, and because judicial economy and issues of comity are served by lifting
  23   the stay for the same reasons the Court abstained, the Court should lift the stay. That the Trustee
  24   may be compelled to take some (limited) role in those actions is nothing out of the ordinary in
  25   the course of bankruptcy proceedings and in fact is part and parcel of serving as trustee.
  26   Moreover, as noted above, the only non-ownership related issue the Trustee highlights (i.e.,
  27   ownership of the PULS test) is one that will benefit the Debtor’s estate, especially if resolved as
  28   quickly as possible.



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   1           E.         The Khalid Parties Will Incur the Expense of Document Searching/Location
   2                      in the Inspection Action.
   3           Other than the expense of discovery, the Khalid Parties do not understand the Trustee’s
   4   Objection arguing that the Khalid Parties should not be able to inspect the Debtor’s books and
   5   records. Indeed, this is a special proceeding in Delaware conducted on a summary basis because
   6   of the need for expedited relief since what is revealed will greatly impact and expedite the
   7   disputes surrounding ownership and control over the Debtor. Presumably, the Debtor and its
   8   current sole officer will cooperate with the orders of the Delaware Chancery Court or with the
   9   needs of the Trustee. However, given that the Trustee is likely to and probably already has taken
  10   possession and control of the Debtor’s records, the Khalid Parties should not be foreclosed from
  11   seeking corporate records from him. In the absence of the specialized Delaware proceeding, the
  12   Khalid Parties would be able to request such documentation in the course of this case, under
  13   Federal Rule of Bankruptcy Procedure 2004, for example, and it is critical that they be able to
  14   exercise their inspection rights previously denied by the Debtor to resolve the ownership and
  15   control disputes. The Khalid Parties will proceed in a manner that limits the expense to the
  16   Trustee and bankruptcy estate as they have privately offered and assured the Trustee they will
  17   do.
  18   IV.     CONCLUSION
  19           For the foregoing reasons, the Court should overrule the Trustee’s objection and approve
  20   the stipulation.
  21
       Dated: July 2, 2021                       Respectfully submitted by
  22
  23                                             GOE FORSYTHE & HODGES LLP

  24
                                                 By: /s/Marc C. Forsythe
  25                                                  Marc C. Forsythe
                                                      Charity J. Manee
  26                                                  Attorneys for Dr. Khalid Bin Jabor Al
                                                      Thani and Trivalley Doha Qatar aka
  27                                                  Trivalley Trading & Contracting, W.L.L., a
                                                      Qatar limited liability company
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   1
                                 PROOF OF SERVICE OF DOCUMENT
   2
       I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
   3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

       A true and correct copy of the foregoing document entitled (specify): REPLY IN SUPPORT OF MOTION
   4   FOR APPROVAL OF STIPULATION BETWEEN KHALID BIN JABOR AL THANI AND TRIVALLEY
       TRADING & CONTRACTING, WLL, ON THE ONE HAND, AND DEBTOR, ON THE OTHER HAND, FOR
   5   RELIEF FROM STAY PURUANT TO 11 U.S.C. §362 (NONBANKRUPTCY ACTION) will be served or
       was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
   6   manner stated below:
   7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
       controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
   8   hyperlink to the document. On (date) July 2, 2021, I checked the CM/ECF docket for this bankruptcy case
       or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
   9   receive NEF transmission at the email addresses stated below:

  10
  11
                                                          Service information continued on attached page
  12
       2. SERVED BY UNITED STATES MAIL:
  13   On (date) July 2, 2021, I served the following persons and/or entities at the last known addresses in this
       bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
  14   in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
       constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
  15   document is filed.

  16
  17                                                      Service information continued on attached page
  18   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
       (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
  19   (date) July 2, 2021, I served the following persons and/or entities by personal delivery, overnight mail
       service, or (for those who consented in writing to such service method), by facsimile transmission and/or
  20   email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
       mail to, the judge will be completed no later than 24 hours after the document is filed.
  21
            The Honorable Mark Wallace, 411 West Fourth Street, Santa Ana, CA 92701
  22          (document delivery suspended due to COVID-19 protocols)

  23                                                      Service information continued on attached page

  24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  25
        July 2, 2021           Susan C. Stein                                 /s/Susan C. Stein
  26    Date                    Printed Name                                  Signature

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   1   Mailing Information for Case 8:21-bk-10619-MW

   2   Electronic Mail Notice List

       The following is the list of parties who are currently on the list to receive email notice/service for this case.
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